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STEPHAN L.COHEN
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STACEY M ,NAHRW OLD
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Attom eysforPlaintiff:
Securitiesand Exohange Commission
100 F Street,N .E.
W ashington,D.C.20549-4030
Telephone:(202)551-.4472
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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF NEVADA

                                       :
SECURITIES AND EXCIIANGE               :
COM M ISSION,                          :
                                       :
                    Plaiutift          :       CaseNo.2:08-CV-457-ECR-PAL
                                       :
                    V.                 :
                                       :
COM PASS CAPITAL GROUP.IN C.,          :
M A RK A.LEFK OW ITZ,                  :
ALVTN I,.DAHL                          ;
JO HN k.DUM BLE,                       :
JOH N C.H OPF!                         :
KEVIN D.ROY EY,and                     :
SHA NE H .TIG VELLER,                  ;
                                       :
                    D efendants.       :
                                       :

                   CONSENT O F DEFENDANT KEVIN D.ROY EY

       l.    DefendantKevinD.Romney('çDefendant'')acknowledgcshavingbeen sewed
withthecomplaintinthisaction,entersageneralappearance,andadmitstheCourt'sjurisdiction        .
overDefendantandoverthesubjectmatterofthisaction.
       2.     W ithoutadmittingordenyingtheallegationsofthecomplaint(exceptasto
personaland subjectmatterjurisdiction,which Defendantadmits),Defendantherebyconsentsto
                                                                                    (% z:1
                                           I                                        &y'b-1
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theentryofthefinalJudgmentinthefonn attachcdhereto(theSs
                                                       FinalJudgmenf')and
incorporated by referenceherein,which,am ong otherthings:

              (a)    permanently restrainsandenjoinsDefendantfrom violationofSection
                     10(b)ofthoSecurititsExchangeActof1934(dçExchangeAct:'')and
                     Rules10b-5and 13a-14promulgatedthereunder,andSections5(a),5(c)
                     and 17(a)oftheSecuritiesActof1933(sssecuritiesAct'>);
              (b)    imposesative(5)yearoffice:anddirectorbarpursuanttoSection21(d)(2)of
                     theExchangeActandSection20(e)oftlleSecuritiesAct;
              (c)    impostsative(5)ycarpennystockbarpursuanttoSection2l(d)(6)ofthe
                     ExchangeActandSection20(g)oftheSecuritiesAct;and
              (d)    ordersDefendanttopayacivilpenaltyin theamountof$40,000under
                     Section21(d)oftheBxchangeActandSection20(d)(2)oftheSecurities
                     Act.

       3.     Defendantagreesthathe shallnotseek oraccept,directly oriudirectly,

reimbursementorindemnification from any source,including butnotlim itedto paym entmade

pursuantto any insurancepolicy,with regard to any civilpenalty amountsthatDefendantpays

pursuantto the FinalJudgm ent,regardlessofwhethersuch penalty am ountsorany partthereof

are added to a distribution ftmdorotherwise used forthebeneftofinvestors.Defendantfurther
agreesthathe shallnotclaim ,assert,orapply foratax deduction ortax creditwith regardto any

federal,state,orlocaltax foranypenalty am ountsthatDefendantpayspursuantto the Final

Judgment,regardlessofwhdhersuch penalty amountsorany partthereofare added to a                         :

distribution fund orotherwiseused forthebeneltofinvestors.

      4.     Defendantwaivestheentry offndingsoffactand conclusionsorlaw pursuantto

Rule52oftheFederalRulesofCivilProcedure.                                                          .0
                                                                                              t1'
                                                                                             k.
                                                                                              -
                                            2
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       5,     Defendantwafvestheright,ifany,toajuly trialand toappealfrorntheentryof
theFinalJudgm ent.
       6.     Defendantentersinto thisConsentvoluntarily andrepresentsthatnotlzreats,

offers,prom ises,orinducem entsofany kind havebeen madeby the Commission orany

member,officer.employee,agent,orrepresenttiveoftheCom mission to induce Defendantto

enterinto thisClmsent.
       7,     DefendantagreesthatthisConsentshallbeincorporated into theFinalJudgment

with thesame forceand effectasiffully setforth therein.
       8.     Defendantwillnotopposethe enforcementoftheFinalJudgm enton theground,

ifanyexists,tha.
               titfailstocomplywithRule65(d)oftheFederalRulesofCivilProcedure,and
herebywaivesanyobjectionbasedthereon.
       9.     Defendantwaivesserdce oftheFinalJudgmentand agreestha.tentry
                                                                         .
                                                                           oftheFinal

Judgmentby theCourtand filingwith the Clcrk oftheCourtwillconstitutenoticeto Defendant
ofitsterm sand conditions. Defendantfurtheragreesto provide counselforthc Comrnission,

within thirty daysaftertheFinalJudgmentisfiled with theClerk oftheCourt,with an affidavit

ordeclaration stating thatDefendanthasreceived and read auopy oftheFinalJudgment.

       10.    Consistentwith 17 C.F.R.202.5(1).thisConsentresolvesonly the claimsasserted
againstDefendantin thiscivilproceeding.DefenGantacknowledgesthatnoprom ise or
representation hasbeen m adeby tht Commission orany mem ber,officer,employee,agent,or

represem ative oftheComm ission with regard to any criminalliability thatmay have arisen or
may arisefrom thefactsunderlying thisaction orimm unity from any such crirninalliability.                :
                                                                                                         '

Defendantwaivesany claim ofDoubleJeopardy based upon the setllemtntofthisproceeding,

including the im position ofany remedy orcivilpenalty herein.Defendantfudheracknowledges
                                                                                              kLY   ps
                                                                                                4n.      .
                                                                                               k'
                                              3
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thattheCourfsentl'yofapermanentinjunctionmay havecollateralconsequencesunderfederal
orstatelaw and the rulesand regulationsofself-regulatory organizations,licensing boards,and

otherregulatory organizations.Such collateralconsequencesinclude.butarenotlimitedto,a
statutol.
        y disqualitication with respectto membership orparticipation in,orassociqtion whh a

m emberof,a self-regulatoly organization.Thisstatutory disqualification hasconsequencesthat

are separatefrom any sandion imposed in an adm inistrativeproceeding.In addition,in any

disciptinar.yproceedfngbeforetheCommissionbasedontheentryoftheinjunctionint
                                                                          âis
action,Defeudantunderstandsthatheshallnotbepermitted to contestthe facm alallegationsof

theçornplaintin thisaction.
       11.    Defendantunderstandsand agreesto comply withtheComm ission'spolicy Kçnot

topennitadefendantorrespondenttoconsenttoajudgmentororderthatimposesasanction
whiledenyingtheallegation inthecomplaintororderforproceedings.''17C.F.R.j202.5.In
compliancewiththispolicy,Defendantagrees:(i)nottotakeany actionortomakeorpennitto
be made anypublic statementdenying,directly orindirectly,any allegation in thecornplaintor

creating theimpressionthatthecomplaintiswithoutfactualbasis;and(ii)thatuponthefilingof
tlùsConsent,Defeudanthereby withdrawsany papersfiled in this action to the extentthatthey
deny anyallcgation in thecomplaint.IfDefendantbreachesthisagreement,theComm ission

may petïtion theCourtto vacatetheFinalJudgmentand restorethisaction to ftsactivedocket.

NothinginthisparagraphaffectsDefendant's:(i)testimonialobligations;or(ii)righttotake
lega!orfactualpositionsin litigation orotherlegalproceedingsin which the Com mission isnot          .
                                                                                                    :
ZPWV .                                                                                              '

       12.    Defendanthereby waivesany rightsundertheEqualAccesstoJusticeAct,the

SmallBusinessRegulatol'y EnforcementFairnessActof1996,orany otherprovision oflaw to pj
                                                                                  k.14a *
                                                                                              ('k
                                              4
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seek from theUnited States,orany agency,orany officialoftheUnited Statesacting in hisor

herofficialcapacity,directly orindirectly,reimbursem entofattorney'sfeesorotherfees,

expenses,oroostsexpendedby Defendantto defend againstthisaction. Forthesepurposes,

DefendantagreesthatDefendantisnottheprevailing party in thisdction since thepal-
                                                                               tieshave

reached a good faith settlem ent.

       13. Inconnectionwiththisactionandanyrelatedjudicialoradministrative
prooeeding orinvestigation comm enced by theConunission ortowhich theCom mission isa

party,Defendant(i)agreestoappearandbeinterviewedbyCommissionstaffatsuchtimesand
placesasthestaffrequestsuponreasonablenotice'(ii)willacceptSewicebymailorfacsimile
transm ission ofnoticesorsubpoenasissued by theComm ission fordocum entsortestimony at

depositions,hearings,ortrials,orin connection with any relatedinvestigation by Commission

staff;(iii)appointsDefendant'sundersignedattorneyasagenttoreceiveserviceofsuchnotices
andstlbpoenas;(iv)withrespecttosuchnoticesandsubpoenas,waivestheterritoriallimitson
servicecontained in Rule45oftheFederalRulesofCivilProcedure and any applicablclocal

l'
 ules,provided thatthepartyrequestingthetestimony reimbursesDefendant'stravel,lodging,and

subsistenceexN nsesatthethen-prevailingU.S.Governmentperdiem l'
                                                              ates;and(v)consentsto
pemonaljurisdictionoverDefendantin anyUnitedStatesDistrictCourtforpurposesof
enforcing any such subpoena.
       l4.     DefendantagreesthattlleCommission may presem theFinalJudgmentto the

Courtforsignature and entty withoutfurthernotice.

        i5. DefendantagreesthatthisCourtshallretainjurisdictionovertlzismatterforthe
purposeofenforcingthetennsoftheFinalJudgment.                                          (   mf
                                                                                         q'     .
                                                                                       k1   -




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Dated: J-22-t)(
              r'
                                               Kevin D .Romney



       On - -'
             ) ,2008,                                             ,personkrlowntome,
personally appeared beforeme and acknowledged executing the fo egoing Consent.


                    ROBI
                       N0'NEAL                 Notary Public           '-
        e
         .%m'
            r
            m QGpunIuc.OFQL
                    NW STA'
                          YXY
                            BKN
                              EVADA commi
                                        ssi
                                          onexpires:/Y f'
                                                        ''
                                                         - j
            '      APFT.NQ.Q0*50'
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   .     .
             MYe   .QXRBEQ;
                            AjjuAjw j:,xjz




                                                                                               :




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                          UNITED STATES D ISTRICT CO URT
                               DISTRICT O F N EV ADA

                                          :
SEC URITIES AND EXCH ANG E                ;
CO M M ISSION,                            :
                                          :
                    Plaintiff,            :     Case No.2:08-CV-457-ECR-PA L
                                          :
                    sr.                   :
                                          :
C OM PASS CAPITAL G RO UP,INC .,          :
M AR K A.LEFK O W ITZ.                    :
ALVIN L.DAH L,                            :
JO HN R.DU M BLE,                         :
JO HN C.H O PF,                           :
K EVIN D.RO M N EY ,and                   :
SHAN E H .TRA VELLER,                     :
                                          :
                    D efendants.          :
                                          :

            FINAL JUD GM ENT AS TO D EFEN DANT K EVIN D.RO M NEY

      The Securitiesand Exchange Com m ission having filed aComplaintand DefendantKevin

D.Romneyhavingenteredageneralappearance;consentedtotheCoull'sjurisdictionover
Detkndanlandthesubjectmatterofthisaction;consentedtoentryofthisFinalJudgment
withoutadmitting ordenyingtheallegationsoftheComplaint(exceptastojurisdiction);waived
tindingsoffactand conclusionsoflaw;and waived any rightto appealfrom this Final
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Judgment:

                                              1.

       IT IS HEREBY ORDERED,ADJUDG ED.AND DECREED thatDefendantand

Defendant'sagents,servants,em ployees,attorneys,and alIpersons in active coneertor

participation with them w ho receive actualnotice ofthis FinalJudgm entby personalservice or

otherwisearepermanentlyrestrainedandenjoinedfrom violating.directlyorindirectly,Section
I0(b)oftheSecuritiesExchangeActof1934(the*iilxchangeAct'')(I5U.S.C.j78j(b))and
Rule 10b-5 prtlmtslgated theretlnder(17C.F.R.j240.10b-5J,by using any meansor
instrumentality ofinterstate comm erce,orofthem ails,orofany facility ofany national

sectlritiesexchange.in connection w ith the purchase orsale ofany security:

       (a)    toemploy anydevice,scheme,orartiticttodefraud'
                                                           ,
       (b)    to makeanyuntruestatementofamaterialf'
                                                   actorto omitto stateamaterialfatt
              necessary in orderto make the statem entsm ade,in the Iightofthe circum stances

              underwhich they were made,notm isleading'
                                                      ,or

       (c)    toengage inanyact,practice,orcourseofbusinesswhichoperatesorwould
              operateasa fraud ordeceittlpon any person.
                                              II.

       IT IS HEREBY O RD ERED,A DJU DG ED,AN D DECREED thatDefendantand

De/kndant'sagents,servants,em ployees,attorneyseand al1pcrsonsin active concertor

participation w ith them w ho receive actualnotice ofthis FinalJudgmentby personalservice or

otherwisearepermanentlyrestrainedandenjoinedfrom violatingSection 17(a)oftheSecuritics
Ad of1933(the'tsecuritiesAct'')(l5 U.S.C.j77q(a)1intheofferorsaleofany securitybythe


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use ofany m eansorinstrum entsoftransportation orcllmm unication in interstatecom merce or

by use ofthe mails,directly orindirectly:

       (a)    to employanydevice,scheme,orartificeto defraud'
                                                            ,
       (b)    toobtainmoney orpropcrty by meansofany untruestatementofamaterialfacl
              orany om ission ofa malerialfac!necessary in orderto m ake thestatem enls

              m ade,in Iightofthecircum stancesunderw hich they were m ade,notm isleading;

              or

       (c)    to engageinany transaction,practice,orcourseofbusinesswhich operatesor
              would operate asa fraud o?deceitupon the purchaser.

                                             111.

       IT IS HEREBY FURTHER O RDERED,ADJUDGED,AN D DECREED thatDefendant

and Defendant'sagents,servants,em ployees,attorneys.and aIlpersons in active concertor

participation with them who receive actualnoticeofthisFinalJudgm entby personalservice or

othenvisearepermanentlyrestrainedandenjoinedfrom violatingSection5oftheSecuritiesAct
gl5 U.S.C.j 77e1by,directly orindirectly,in theabsenceofany applicableexemption:
       (a)    Unlessaregistration statementisin effectastoasecurity,makinguseofany
              means orinstruments of-transportation orcom m unication in interstatecom m erce

              orofthe m ailsto sellsuch security through the use orm edium ofany prospectus

              orotherw ise;

       (b)    Unlessaregistration statementisin effectastoasecurity,carryingorcausing to
              be carried through the m ailsorin interstatecom m erce.by any meansor

              instruments oftransportation,any such security for1he purpose ofsale orfor


                                              3
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              delivery aftersale;or

       (c)    M aking useofanymeansorinstrumenlsoftransportalion orcommtlnicationin
              interstate com mcrce orofthe mailsto offerto sellorofferto buy through the use

              orm edium ofany prospectusorotherwise any security.unlessa registration

              statem enthasbeen Gled w ith the Comm ission asto such stcurity,orwhile the

              registrationstatementisthesubjectofarefusalorderorstoporderor(priortothe
              effectivedateoftheregistrationstatemcnt)any publicproceedingorexamination
              underSection 8oftheSecuritiesActg15U.S.C.j 77h1.
                                             IV .

       IT IS HEREBY FURTHER ORDERED,ADJUDG ED,AN D DECREED thatDefendant

and Defendant'sagents,servants,employees,attorneys.and allpersons in adive concertor

participation with them w ho receive actualnoticeofthisFinalJudgm entby personalserviceor

otherwisearepermanently restrained and enjoined from violating ExchangeAd Rule 13a-l4 t17
C.F.R.j240.l3a-I41.directly orindirectly,by falsely signing personalcertit
                                                                         icationsinclicating
thatthey have rcviewed periodic reportscontaining financialstatementsw hich an issuert'
                                                                                      iled

withtheCommissionpursuantto Section l3(a)orthe Exchange Act(15 U.S.C.j 78m(a)jand
that,based on theirknow ledge,

       (a)    theserepol'tsdo notcontainanyuntruestatementofmaterialfactoromitto state
              a m aterialfactnecessary to make the statem entsm ade.in Iightofthe

              circum stances underwhich such statementswcre m ade,notm isleading w ith

              respectto the period covered by the report;and

       (b)    thatinformationcontained inthesereportsfairlypresent,inallmaterialrespects,


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              the financialcondition and resultsofthe issuer'soperations.

                                             V.

       IT IS FURTHER ORDERED,ADJUDGED,A ND DECREED thatspursuantto Section

2I(d)(2)oftheExchangeAc1f15 U.S.C.978u(d)(2)JandSection 20(e)of1heSccuritiesAd gl5
U.S.C.j77t(e)1,Defendantisprohibited,forfive(5)yearsfollowingthedateofentryofthis
FinalJudgm ent,from acting asan officerordirectorofany issuerthathasa classofsecurities

registered pursuantto Section l2oftheExchangeAct(15 U.S.C.j7811orthatisrequired to Gle
reportspursuantteSection l5(d)oftheExchangeAct(l5U.S.C.j78o(d)1.
                                             V I.

       IT IS HEREBY FURTHER O RDERED,ADJIJDGED,AND DECREED that,pursuant

to Section 21(d)(6)oftheExchangeActg15 U.S.C.j78u(d)(6)1, Defendantisbarred,forfive
(5)yearsfollowing thedateofentry ofthisFinalJudgment,from participating in anofferingof
penny stock,including engaging in activitiesw ith a broker,dealer,orissuerforpurposesof

issuing,trading,or inducing orattem pting to indtlce the purchaseorsale ofany penny stock. A

penny stock is any equity security thathasa price ofIessthan tivedollars,exceptasprovided in

Rule3a51-1undertheExchangeAct(17C.F.R.240.3a5l-1j.
                                             VII.

       IT IS FURTHER ORDERED.A DJUDGED,AN D DECREED thatDefendantshallpay a

eivilpenalty in theamountof$40,000pursuantto Section21(d)oftheExchangeActg15U.S.C.
j78u(d)(6)1andSection20(d)(2)oftheSecuritiesAc1(15U.S.C.j77t(d)(2)).Defendantshall
makethispaymenlwithinten(10)businessdaysaûerentry ofthisFinalJudgmentbycertified
check.bank cashier's check,orUnited Statespostalm oney orderpayableto the Securitiesand


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'
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    Exchange Comm ission. The paymentshallbedelivered orm ailed to the Office ofFinancial

    M anagem ent,Securitiesand Exchange Comm ission,OperationsCenter,6432 GeneralGreen

    W ay,M ailStop 0-3,A lexandriasV irginia 223l2,and shallbe accom panied by a letter

    identifying Kevin D ,Rom ney asa defendantin thisaction;setting forth the title and civilaction

    num berofthis action and the name ofthisCourt;and specifying thatpaym cntismade pursuant

    tothisFinalJudgment.Defendantshallpaypost-judgmentintereslonanydelinquentamounts
    pursuantto 28USC j 1961.TheCommissionshallremitthe fundspaid pursuanttothis
    paragraph to the United StatesTreasury.

                                                 V Il1.

           IT IS FU RTHER O RDERED,A DJUDG ED,AND DECREED thatthe Consentis

    incorporated herein w ith thesame force and effectas iffully setforth herein,and thatDefendant

    shallcom ply w ith alIofthe undertakingsand agreem entssetforth therein.

                                                  IX .

           IT IS FUR'
                    I-HER O RDERED,A DJUDGED,AND DECREED thatthisCourtshallretain

    jurisdictionofthismatterforthepurposesofenforcingthetermsofthisFinalJudgment.
                                                  X.

           Therebeingnojustreasonfordelay,pursuantto Rule54(b)oftheFederalRulesofCivil
    Procedure.the Clerk is ordered to enterthis FinalJudgmentforthw ith and w ithoutfurthernotice.


    Dated:             i ,2008
                                                              C       .
                                                                      u/
                                                EDW A RD C .Rl':
                                                               'l:
                                                                 'D.JR.
                                                SEN IO R UN ITED STATES D ISTRICT JU DG E



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